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                         UNITED STATES DISTRICT COURT f~" I
                       SOUTHERN DISTRICT OF CALIFORNDl 1

                                                               12 SE? - 7 AM 8: 27
UNITED STATES OF AMERICA,


                                                             ~Y\lQ
                          aintiff,
                                                                              OEi'!"
                vs.                         JUDGMENT OF DISMISSAL
Daniel Ramos    (2),

                        Defendant.


          IT APPEARING that the defendant is now entitled to be discharged
for the reason that:

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 x __ an indictment has been filed in another case against the defendant and
      the Court has granted the motion of the Government for dismissal of
      this case, without prejudice; or

     the Court has dismissed the case for unnecessary delay; or

     the Court has granted the motion of the Government for dismissal,
     without prejudice; or

     the Court has granted the motion of the defendant for a judgment of
     acquittal; or

     a jury has been waived, and the Court has found the defendant not
     guilty; or

     the jury has returned its verdict, finding the defendant not guilty;

__
 X__ of the offense(s) as charged in the Indictment/Information:

     8:1324(a} (1) (A) (ii) and (v) (II) - Transportation of Illegal Aliens and


     Aiding and Abetting(2)

          IT IS THEREFORE ADJUDGED that the defendant is hereby discharged.


DATED: 9/4/12
                                            Barbara L. Major
                                            U.S. Magistrate Judge
